                                  CASE 0:21-cr-00109-WMW-HB Doc. 19 Filed 06/04/21 Page 1 of 1

AO 442 (Rcv. I l/l       l)   Arrest Warrant



F#1t274272                                          UNtrBr Srarps Drsrrucr Counr
                                                                                      for the
                                                                                                                                                JUN 0      4   2021

                                                                                                                                CLERK,'U.S. DISTRICT COURT
                                                                              District of Minnesota
                                                                                                                                   ST. PAUL. MINNESOTA

                         United States of America
                                          v.                                            )
                                                                                                              ffi
                          Derek Michael Chauvin           (l)                           )           Case No. cR2l-109 WMWHB
                                                                                        )
                                                                                        )
                                                                                        )
                                                                                                      RECEIVED
                                                                                        )             By U.S. Marshal, St. Paul, MN at 2:14 pm, May 06, 2021
                                      Defendant


                                                                           ARREST WARRANT
To:         Any authorized law                                  officer
                                               "nfor."nr"nt

            YOU ARE COMMANDED to arest and bring before                                     a   United States magistrate judge without unnecessary delay
(name of person to be          arrested) Derek Michael Chauvin
who is accused of an offense or violation based on the following document filed with the court:

y' Indictment                            Superseding Indictment                 Information Superseding Information                                     Complaint
      Probation Violation Petition                              Supervised Release Violation Petition Violation Notice                                  Order of the Court

This ofGnse is briefly described as follows:                                                                         Pretrial Release Violation Petition

Counts      I   and? - Deprivation of Rights Under Color of Law, 18:242.




Date:      05106/2021
                                                                                                                             oflicer's signature


City and        state:        Minneapolis, MN                                                                           Foearty, Clerk of Court
                                                                                                                     Printed name and title


                                                                                     Return

             This warrant was received on                 @atu)                                 , and the person was arrested on        @atu)
at   (c,ity and state)



Date:
                                                                                                                  Arre s t ing offi ce r's s ignature

                                   ARRESTED ON
                                   ARRESTED BY
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                                    BY                                                                                                                      tou*t        tout
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